 Case 1:20-cv-00323-LY Document 89-8 Filed 04/18/20 Page 1 of 6




EXHIBIT 27
            Case 1:20-cv-00323-LY Document 89-8 Filed 04/18/20 Page 2 of 6




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 PLANNED PARENTHOOD CENTER FOR )
 CHOICE; et al.,                          )
                                          )                  CIVIL ACTION
                      Plaintiffs,         )
                                          )                  CASE NO. 1:20-cv-323-LY
 v.                                       )
                                          )
 GREG ABBOTT, in his official capacity as )
 Governor; et al.,                        )
                                          )
                      Defendants.         )

                DECLARATION OF STEPHANIE GOMEZ IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       STEPHANIE GOMEZ hereby declares under penalty of perjury that the following

statements are true and correct:

       1.       I am a member of the Board of Directors of Fund Texas Choice (“FTC”), a Texas

nonprofit corporation that provides financial assistance to Texas residents who must travel to

access abortion care to cover the cost of transportation and accommodations. Currently, FTC

employs 2 staff members. Our statewide Board and small staff work intentionally and thoughtfully

to help ensure abortion access for all Texans.

       2.       As a Board member, I help shape FTC’s mission and direct its strategy based on

our clients’ experiences. Along with the other Board members, I supervise FTC’s staff, which

includes a program coordinator. I also serve as the Board’s Program Chair and Secretary. In that

role, among other things, I am responsible for overseeing FTC’s programmatic work and

supporting FTC’s program coordinator.

       3.       I provide the following testimony based on personal knowledge acquired through

my service at FTC and review of the organization’s business records.

                                                 1
            Case 1:20-cv-00323-LY Document 89-8 Filed 04/18/20 Page 3 of 6




                                             FTC Background

       4.       FTC’s clients primarily contact us through our online intake form. Some clients are

referred to us from abortion providers or other organizations supporting Texas residents seeking

abortion care. We accept intakes until we have exhausted our weekly budget.

       5.       Every Thursday, we review caller requests for assistance and contact each caller to

assess their needs and develop a plan for accessing care. FTC offers travel assistance to clients

who already have appointments and covers one hundred percent of their travel costs. We pay for

the cost of transportation (i.e., bus fare, gas money, rideshares, or airfare), as well as the cost of

lodging. We also help clients schedule appointments if they do not already have one. If a client

needs assistance to pay for their abortion, we help that client secure funding from another

organization.

       6.       It is not uncommon for a client to request assistance from multiple organizations to

secure the financial and practical resources needed to access care. We regularly work with other

organizations supporting Texas residents seeking abortion care.

       7.       In 2019, FTC assisted 289 Texas residents seeking abortion care.

         The Impact of the Governor’s Executive Order on Texans Seeking Abortion Care

       8.       I understand that the State has threatened to enforce an Executive Order by

Governor Abbott as a ban on abortion care (the “EO”), which made abortion care virtually

unavailable in Texas.

       9.       Because of COVID-19 and Governor Abbott’s stay-at-home Executive Order,

clients now struggle with reduced job hours, layoffs, loss of childcare, and even greater difficulty

traveling. For example, clients who lack a reliable car have even greater difficulty finding someone



                                                  2
          Case 1:20-cv-00323-LY Document 89-8 Filed 04/18/20 Page 4 of 6




in their network to drive them to appointments. Now more often than before, flights are delayed,

which results in longer stays at the airport, or are cancelled, which can require multiple trips to the

airport. In addition, clients who must travel out of state for care must contend with different states’

rules regarding out-of-state travelers, which can be confusing and make the experience more

stressful. For example, although New Mexico requires out-of-state air travelers to self-isolate for

a period and recommends that people traveling there by other means do so, it permits all out-of-

state travelers to leave their hotels to obtain medical care.

       10.     Clients are also confused by Texas’ conflicting messages about COVID-19. On the

one hand, Texas has told them to stay at home to avoid becoming infected by COVID-19. On the

other hand, Texas is forcing them to leave the state to access abortion care that should be available

in-state. It has been reported that the Texas Department of Safety is ramping up enforcement of

the Governor’s proclamation requiring travelers from Louisiana to quarantine. One client driving

back from Louisiana was stopped by the Department of Safety.

       11.      Clients traveling out of state also worry about becoming infected with COVID-19

and exposing their family members, children, or housemates after returning home.

       12.     The COVID-19 outbreak has also made it harder to find lodging for our clients

because some hotels have limited their occupancy.

       13.     In addition, some clients find it harder to keep their pregnancy or abortion decision

confidential. One client sheltered at home with her abuser feared her partner would physically

harm her if he discovered she was pregnant.

       14.     As a result of the EO, the vast majority of our clients have been unable to access

abortion care in Texas. With assistance from FTC, clients have or plan to travel to Arizona,

Colorado, Kentucky, Louisiana, Mississippi, New Mexico, Oklahoma, and Virginia to access care.



                                                   3
          Case 1:20-cv-00323-LY Document 89-8 Filed 04/18/20 Page 5 of 6




Clients sometimes travel to states that are farther away if there is someone in their network there

that will provide emotional support to them while they access care in an unfamiliar place. Our

clients have limited financial means, and many have never left their communities or traveled by

air; because of the EO, they are forced to do so for the first time during a global pandemic.

        15.      In February, we assisted 24 Texas residents access abortion care, most obtained

care in-state.

        16.      After the Governor issued the EO, FTC had to twice close intake because requests

for assistance far exceeded our resources.

        17.      Since March 23, 44 Texas residents contacted us seeking assistance accessing

abortion forced to travel out of state to access abortion care as a result of the EO. Twenty-nine

people were less than 11 weeks pregnant, as measured from the first day of their last menstrual

period (lmp), and at least one had her appointment for medication abortion cancelled as a result of

the EO; we very rarely help clients at this gestational age travel out of state for care. Fifteen of the

clients we assisted go out of state for care were between 11-22 weeks lmp. We were able to assist

37 of these clients.

        18.      Not all clients are able to travel out of state to obtain care. One client who could

not obtain an abortion in Texas as a result of the EO was too scared to travel by air or to drive by

herself to obtain care. She did not have anyone in her network who would her over ten hours, one-

way to the nearest out of state abortion clinic. She still has not obtained her abortion and feels

forced to give birth.

        19.      Until recently, our weekly budget was $1500. Last month, we increased our budget

to $2500 to meet increased client need during the COVID-19 outbreak. For the last 2 weeks, we

exceeded our weekly budget due to client need.



                                                   4
          Case 1:20-cv-00323-LY Document 89-8 Filed 04/18/20 Page 6 of 6




        20.     Even before the current public health crisis and the EO, Texas made abortion

difficult to access. Abortion providers are scarce, and some patients must travel long distances to

their appointments, usually more than once. The COVID-19 outbreak exacerbated existing barriers

to care. Now, the EO banning most abortion care has put our clients in crisis mode.

        21.     Forcing clients to remain pregnant when they do not want to be significantly and

adversely impacts their physical and mental well-being and exacerbates the difficulties they face

in the current public health crisis.



Dated: April 16, 2020


                                                            /S/ Stephanie Gomez
                                                            STEPHANIE GOMEZ




                                                5
